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13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
     RESOURCE RENEWAL INSTITUTE;                     Case Number: 4:22-cv-00145-KAW
16   CENTER FOR BIOLOGICAL DIVERSITY;
17   and WESTERN WATERSHEDS PROJECT,                 DECLARATION OF JOLYNN
                                                     MCCLELLAND
18                 Plaintiffs,
19   v.
20
     NATIONAL PARK SERVICE, a federal
21   agency,
22                 Defendant,
23
     POINT REYES SEASHORE RANCHERS
24   ASSOCIATION,
25                 Proposed Defendant-
26                 Intervenor.

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     DECLARATION OF JOLYNN MCCLELLAND                                    4:22-cv-00145-KAW
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1           I, JOLYNN MCCLELLAND, under threat of penalty of law and pursuant to 28 U.S.C.
2    § 1746, do hereby declare as follows:
3           1.      I make this declaration on behalf of me and my husband, Robert McClelland, in
4    support of proposed intervenors’ Motion to Intervene in the above-referenced case. I am

5    competent to testify about the matters set forth herein and am over 18 years of age.

6           2.      I am a member of the Point Reyes Seashore Ranchers Association (“PRSRA”)

7    that seeks intervention in this case and I have personal interests at stake, and knowledge

8    concerning, this litigation. Both my and my husband’s families come from long lines of West

9    Marin dairy families. I am a fourth-generation dairy farmer operating on the lands of the Point

10   Reyes Peninsula. My great grandparents immigrated to the United States from the Azores. They

11   went on to purchase the historic A & B Ranches in 1919. My grandparents continued to run the

12   B Ranch as a dairy farm, later bringing my parents into the partnership. I grew up on the Historic

13   B Ranch. My brother, Jarrod Mendoza, currently runs an organic dairy there and continues to

14   lease the B Ranch. My grandparents, Joe and Scotty Mendoza, purchased the historic L Ranch

15   in the 1950s. My husband and I took over the L Ranch lease in 2011.

16          3.      My husband, Robert McClelland, and I own and operate the R & J McClelland

17   Dairy as an organic dairy on the historic L Ranch property on the Point Reyes National Seashore

18   (“Seashore”). On the L Ranch we are authorized to stock up to 400 animal heads on average

19   annually. The L Ranch is subject to the National Park Service’s (“NPS”) General Management

20   Plan Amendment and Record of Decision (“GMPA/ROD”) for the Seashore that plaintiffs here

21   seek to declare unlawful. The income derived to our family business from the L Ranch provides

22   an important source of income, livelihood, and economic well-being for our family and our

23   employees. Without the ability to graze our livestock on the Seashore, me and my family, and
     our family business, would experience significant harm.
24
            4.      Our ranch previously operated under five-year special use permits (“SUPs”). We
25
     had understood from the federal government that long-term authorizations would be granted.
26
     However, as NPS began to develop the Ranch Comprehensive Management Plan, a precursor to
27
     the GMPA/ROD process, starting in early 2014, NPS began to authorize grazing only one year at
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     DECLARATION OF JOLYNN MCCLELLAND                                            4:22-cv-00145-KAW
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1    a time. In 2017, the U.S. Department of Justice filed a multi-party settlement agreement
2    beginning the GMPA/ROD development process and again authorizing only short-term leases
3    while NPS developed the plan amendment. These short-term authorizations create great
4    uncertainty in our capital investment decisions, like how much to invest in fence improvements

5    and other capital improvements to benefit ranch operations. In sum, the short-term

6    authorizations hinder our ability to ensure the stability of our multi-generational family business.

7    Plaintiffs’ lawsuit, among other things, seeks to prevent NPS from issuing longer-term leases

8    pursuant to the GMPA/ROD, exacerbating this uncertainty.

9           5.      We operate with the utmost concern for our natural surroundings and seek to

10   leave the smallest footprint possible. As part of our commitment to environmental stewardship,

11   we are constantly improving our practices. We go above and beyond to make sure that we are in

12   compliance with air and water quality standards, and we use sustainable farming practices. For

13   example, we rotationally graze our cows, follow a comprehensive nutrient management plan, and

14   we make full use of our manure production. We also follow strict animal care and welfare

15   standards.

16          6.      If we were to get a longer-term lease, we would like to make some capital

17   investments on the Ranch such as putting in a loafing barn for winter housing, and water and

18   fencing development in order to rotationally graze more efficiently.

19          7.      We also take water quality concerns very seriously. Our farm, along with the

20   other dairies at the Point Reyes National Seashore, have been regulated by the San Francisco Bay

21   Regional Water Quality Control Board since 2003. Among other things, we are required to

22   provide an annual report to the board providing information on our winterization practices

23   annually before the rainy season begins. We are also required to notify the board of any changes
     made throughout the year to improve water quality best-management practices and provide a
24
     checklist of rainy season preparation steps. I have carefully followed the NPS’s GMPA/ROD
25
     development process and the related evaluation by the California Coastal Commission, which
26
     have evaluated management practices related to water quality on the Seashore, and which bear
27
     on Plaintiffs’ concerns with water quality.
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     DECLARATION OF JOLYNN MCCLELLAND                                             4:22-cv-00145-KAW
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